

By the Court.

As a plea in abatement to the jurisdiction, the plea is unquestionably bad, as it gives jurisdiction to no other Court of this state. But the Court will not proceed in the suit, as it does not appear that either of the defendants, or any estate of theirs, is within the jurisdiction of the commonwealth.
Let an entry be made that the plea is adjudged bad; and let a further entry be made that, for the reasons aforesaid, all further proceedings stay.
See statute of 1797, c. 50. § L, relating to suits against defendants out of the state, also to giving notice to defendants sued (a).

 Vide Guild, Adm., vs. Richardson, 6 Pick. 364, and the cases there cited in the arguments.

